                                 Case 23-16316-RAM                    Doc 5       Filed 08/10/23              Page 1 of 1
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Southern District of Florida
 In re       Oatny Borges                                                                                     Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     2,000.00
             Prior to the filing of this statement I have received                                        $                     2,000.00
             Balance Due                                                                                  $                        0.00

2.   $      0.00     of the filing fee has been paid.

3.   The source of the compensation paid to me was:

                   Debtor            Other (specify):

4.   The source of compensation to be paid to me is:

                   Debtor            Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


7.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Any deposition or 2004 Examination, motion or petition to the court, including but not limited to motions to
             reinstate the case, reaffirmation agreement, eliminating the property tax, to reopen the case in court or audit,
             suggestion of bankruptcy, Evidentiary Hearings, Amendments / Motions, Amendments to Schedule D, E, or F,
             Creditor's Notice of change of address, Adversary proceedings, defense of motions or other contested matters,
             Judicial Lien avoidance or removal, Relief from Stay actions, Dischargebility actions of the case require requires
             and additional cost starting at $250-$1,500, plus court costs.
             Does not include representing the Debtor(s) if the case is audited.
             Does not include representing the Debtor(s) if the Debtor(s) does not meet the Means Test.
             Does not represent the Debtor(s) in any IRS and/or Tax issues
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     August 10, 2023                                                          /s/ Robert Sanchez, Esq.
     Date                                                                     Robert Sanchez, Esq.
                                                                              Signature of Attorney
                                                                              Law Office of Robert Sanchez, P.A.
                                                                              355 West 49th Street
                                                                              Hialeah, FL 33012-3715
                                                                              305-687-8008 Fax: 305-512-9701
                                                                              courtnotes@bankrutpcyclinic.com
                                                                              Name of law firm
